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     ~0245B       (Rev. 9/00) Judgment in a Criminal Case
                                                                                                                             FILED
                  Sheet 1                                                                                                      FER     9 2012
                                              UNITED STATES DI
                                                             S RICT
                                                                T   COD"l;b CLERK US. DISTRICT COURT
                                                                      ) UTHERN    DisTRICT OF CALIFORNIA
                                                                                                                        ~                           DEPUTY
                                                  SOUTHERN DISTRICT OF CALIFORNIA BY                                       ~

                    UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                        v.                                         (For Offenses Committed On or After November 1, 1987)

                              JU HEA KIM [2]                                       Case Number: 11CR5165-BTM
                                                                                    DAVID BAKER
                                                                                   Defendant's Attorney
    REGISTRATION NO.

    o
    THE DEFENDANT:
    129 pleaded guilty to count(s) I OF THE SUPERSEDING INFORMATION
    o was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea ofnot guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                           Count
    Title & Section                          Nature ofOtTense                                                                             Number(s)
18:371; 8:1324(b)                    CONSPIRACY TO HIRE TEN OR MORE ILLEGAL ALIENS WITHIN A
18:982(a)(6) and 982(b)              TWELVE-MONTH PERIOD; CRIMINAL FORFEITURE




            The defendant is sentenced as provided in pages 2 through _ _.......:4_ _ _ of this judgment. The sentence is imposed pursuant
    to the Sentencing Reform Act of 1984.
    o The defendant has been found not guilty on count(s),_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
    181 Count(s) Underlying Information                                      is   0 areDdismissed on the motion ofthe United States.
    129 Assessment: $100.00 to be paid forthwith.


    181 $10,000.00 Fine                       181 Forfeiture pursuant to order filed ____0_11_30_/2_0_1_2_ _ _ , incorporated herein.
              IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence,
     or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
     defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.


                                                                                   JANUARY 30, 2012
                                                                                   Date of Imposition of Sentence




                                                                                  ~J~'i:r
                                                                                   ~ TEDMOSKOWITZ--'
                                                                                   UNITED STATES DISTRICT JUDGE


                                                                                                                    llCR5165-BTM
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AO 245B (CASD) (Rev. Sill)
             Sheet 2 .- Probation
                                                                                                                         2_ of
                                                                                                         Judgment Page _ _             _-014_ __
DEFENDANT: JU HEA KIM [2]                                                                         D
CASE NUMBER: llCR5165-BTM
                                                               PROBATION
The defendant is hereby sentenced to probation for a term of:

FIVE (5) YEARS.

The defendant shall not commit another federal, state, or local crime.
For offenses committed on or after September 13, 1994:
                                                                                                ~4~   BARRY       D MOSKOWITZ
                                                                                                      UNITED STATES DISTRICT JUDGE
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 1 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                         -­

o      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a Ilfearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample frnm the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).




o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of probation that the defendant pay any such fine or
restitution in accordance with the Schedule of Payments sheet of this judgment.
        The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall
also comply with the special conditions imposed.

                                     STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)     the defendant shall notify the pro bation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use ofalcohol and shall not purchase, possess, use, distribute, or administer any controlled
         substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
         any contraband observed in plain view of the probation officer;
 11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
         officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
         criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm
         the defendant's compliance with such notification requirement.



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       AO 245B      (Rev, 9/00) Judgment in a Criminal Case
                    Sheet 4 - Special Conditions
                                                                                                         Judgment-Page - L of ___
                                                                                                                                4__
       DEFENDANT: JU REA KIM [2]                                                                  II
       CASE NUMBER: llCRS16S-BTM




                                                SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to t


o
o Not transport, harbor, or assist undocumented aliens.
181 Not associate with undocumented alien or alien smugglers.
181 Not reenter the United States illegally.
o Not enter the Republic of Mexico without written permission of the Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
181 Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
o Remain  in your place of residence for a period of 180 days, except while working at verifiable employment, attending religious services,
  taking her children to school, attending school functions or undergoing medical treatment for herself or her children or such other reasons
    approved by the probation officer. The defendant shall be subject to electronic monitoring, not at her expense.


181 Pay a fine in the amount of $10,000.00, to be paid within SIX (6) months.
181 Forfeiture as in the order filed 01/30/2012.
o   Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of 120 days at the direction of the Probation
    Officer.
o   Seek and maintain full time employment and/or schooling or a combination of both.
o   Obtain GED or a High school degree within 12 months.
o   Complete 200 hours of community service in a program approved by the probation officer within 18 Months.
o   Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
o   If the defendant has complied with all conditions of Supervised Probation for 2 Years, Supervised Probation may be terminated on
    application to the Court and good cause shown.

o Notify the Collections Unit, United States Attorney's Office, before transferring any interest in any property owned directly or indirectly by
  him, including any interest held or owned under any other name or entity, including trusts, partnerships or corporations, until fine or
    restitution is paid in full.




                                                                                                                                 llCRS16S-BTM
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A0245S       Judgment in Criminal Case
             Sheet 5   Criminal Monelllry Penalties
                                                                                                      Judgment - Page _ _4__ of        4
DEFENDANT: JU REA K1M [2]                                                                      D
CASE NUMBER: llCR5165-BTM
                                                                      FINE

         The defendant shall pay a fme in the amount of _ _ _$_l_O_,O_O_O_.O_O_ _ _unto the United States of America.




          This sum shall be paid __ immediately.
                                  " as follows:

          Within SIX (6) months.




         The Court has determined that the defendant _doe_s_ _ have the ability to pay interest. It is ordered that:

   _       The interest requirement is waived.


           The interest is modified as follows:

            No interest shall accrue if the fme is paid within SIX (6) months, if the fine is not paid in full within SIX (6)
            months interest will accrue on the remaining balance.




                                                                                                     llCR5165-BTM
